


AMADOR V. STATE



















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH





NO. 2-06-261-CR





CHRISTOPHER ANTONIO AMADOR	APPELLANT



V.



THE STATE OF TEXAS	STATE



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FROM THE 78TH DISTRICT COURT OF WICHITA COUNTY



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MEMORANDUM OPINION
(footnote: 1)


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Appellant Christopher Antonio Amador appeals from his conviction for two counts of delivery of a controlled substance. &nbsp;A jury convicted appellant, and, in accordance with appellant’s election, the trial court assessed his punishment, enhanced by a prior felony conviction, at thirty years’ confinement for each count, to be served concurrently. &nbsp;The trial court sentenced appellant accordingly. &nbsp;We affirm. 

Appellant’s court-appointed appellate counsel has filed a motion to withdraw as counsel and a brief in support of that motion. &nbsp;In his motion, counsel avers that he has conducted a professional evaluation of the record and after a thorough review of the applicable law has reached the conclusion that there are no arguable grounds to be advanced to support an appeal of this cause, and that the appeal is frivolous. &nbsp;In his brief, counsel has reviewed the history of the case, including detailing the evidence presented. &nbsp;Counsel’s brief and motion meet the requirements of 
Anders v. California
, 386 U.S. 738, 87 S. Ct. 1396 (1967), by presenting a professional evaluation of the record demonstrating why there are no reversible grounds on appeal and referencing any grounds that might arguably support the appeal. &nbsp;
See Mays v. State
, 904 S.W.2d 920, 922-23 (Tex. App.—Fort Worth 1995, no pet.). &nbsp;Appellant declined to file a pro se brief on his own behalf.

In our duties as a reviewing court, we must conduct an independent evaluation of the record to determine whether counsel is correct in determining that the appeal is frivolous. &nbsp;
See Stafford v. State
, 813 S.W.2d 503, 511 (Tex. Crim. App. 1991); 
Mays
, 904 S.W.2d at 923. &nbsp;Only then may we grant counsel’s motion to withdraw. &nbsp;
See Penson v. Ohio
, 488 U.S. 75, 83-84, 109 S. Ct. 346, 351 (1988).

We have carefully reviewed the appellate record and counsel’s brief. &nbsp;We agree that the appeal is wholly frivolous and without merit. &nbsp;We find nothing in the record that might arguably support the appeal. &nbsp;
See Bledsoe v. State
, 178 S.W.3d 824, 827 (Tex. Crim. App. 2005). &nbsp;Therefore, we grant the motion to withdraw filed by appellant’s counsel and affirm the trial court’s judgment. 





TERRIE LIVINGSTON

JUSTICE



PANEL F:	LIVINGSTON, WALKER, and MCCOY, JJ.



DO NOT PUBLISH

Tex. R. App. P.
 47.2(b)



DELIVERED: &nbsp;November 29, 2007

FOOTNOTES
1:See
 
Tex. R. App. P.
 47.4.




